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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                    §   Chapter 15
                                                          §
MtGox Co., Ltd. (a/k/a MtGox KK)                          §   Case No. 14-31229-sgj-15
                                                          §
          Debtor in a Foreign Proceeding                  §
                                                          §


     ORDER GRANTING CREDITORS GREGORY GREENE AND JOSEPH LACK’S
        MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
    COMPELLING DEPOSITION TESTIMONY IN THE UNITED STATES FROM THE
                       FOREIGN REPRESENTATIVE

          This matter having come before this Court on the motion of Creditor Gregory Greene and

Joseph Lack (collectively “Movants”), for an Order pursuant to Fed. R. Bankr. P. 2004

compelling Robert Marie Mark Karpeles (the “Foreign Representative”) to submit to an

examination in the United States (the “Motion”);1 it appearing that the relief requested in the

Motion is in the best interests of all parties-in-interest; it appearing that notice of the Motion has



1
          Capitalized terms used but not otherwise defined herein shall have the meaning given to such terms in the
Motion.
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been given as set forth in the Motion and that no other or further notice need be given; and after

due deliberation thereon and good cause appearing therefor,

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

       1.      The Motion is GRANTED in its entirety.

       2.      The Foreign Representative shall appear and submit to deposition testimony upon

oral examination by Greene, regarding the matters described in the Motion and any other

matters relating to the Petition.

       3.      The Deposition of the Foreign Representative shall take place in the Northern

District of Texas by April 10, 2014, unless otherwise agreed between the Foreign

Representative and Greene, pursuant to a subpoena to be issued in furtherance of this Order.

       4.      In the event Robert Marie Mark Karpeles is replaced as the foreign representative

in this chapter 15 case by the court in the Japan Proceeding, this Order shall remain in effect

with respect to the 2004 examination in this District of Mr. Karpeles.

       5.      The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.



                                    # # # END OF ORDER # # #




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